           Case 1:19-cr-00862-VEC Document 615 Filed 10/27/21 Page           1 ofSDNY
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                                                                           ELECTRONICALLY FILED
                                                                           DOC #:
UNITED STATES DISTRICT COURT                                               DATE FILED: 10/27/2021
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
 UNITED STATES OF AMERICA                                     :
                                                              :
                 -against-                                    : 19-CR-862 (VEC)
                                                              :
                                                              :     ORDER
 CARMELO VELEZ et al.,                                        :
                                                              :
                                          Defendants.         :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS the cases against six of the Defendants in this matter are trial ready;

       IT IS HEREBY ORDERED that status conferences to set a trial schedule in this matter

are scheduled as follows:

   1. Defendants Ricardo Ricuarte, Raul Cuello, Paul Cuello must appear on Thursday,

       November 4, 2021 at 10:00 A.M.

   2. Defendants Mark Woods, William Gonzalez, and Ezequiel Ospina must appear on

       Monday, November 8, 2021 at 11:00 A.M.

       IT IS FURTHER ORDERED that the Court will schedule a status conference with

Defendant Diego Mateo after any pre-trial motions in his case are fully briefed.

       IT IS FURTHER ORDERED that conferences will be held in person in Courtroom 443

of the Thurgood Marshall United States Courthouse, located at 40 Foley Square, New York,

New York 10007. Per the SDNY COVID-19 COURTHOUSE ENTRY PROGRAM, any

person who appears at any SDNY courthouse must complete a questionnaire and have his or her

temperature taken. Only those individuals who meet the entry requirements established by the

questionnaire will be permitted entry.
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      IT IS FURTHER ORDERED that any person who appears at any SDNY courthouse must

comply with Standing Order M10-468 (21-MC-164), which further pertains to courthouse entry.



SO ORDERED.

Dated: October 27, 2021
      New York, NY
                                                       ______________________________
                                                             VALERIE CAPRONI
                                                             United States District Judge




                                          2 of 2
